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     Grant D. Orvis, Petitioner  v.  Billy Seiber; Steve Silverman; MPG Consulting, LLC, a Colorado limited liability company; Adam Orens; and Salmeron Barnes. Respondents No. 24SC514Supreme Court of Colorado, En BancDecember 9, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 23CA374 &amp; 23CA883
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    